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January 21, 2021

Via ECF
Hon. Loretta A. Preska
U.S. District Court for the Southern District of New York
500 Pearl Street
New York, New York 10007

Re:      Giuffre v. Dershowitz, No. 19-cv-3377-LAP

Dear Judge Preska:

        We represent non-party Sharon Churcher in connection with the Subpoena served on her
by Defendant Alan Dershowitz. In our letter of January 7, 2021 (ECF No. 234), we requested
that the Court continue to hold our request for a pre-motion conference for a motion to quash in
abeyance while we conferred with the parties to determine whether the issues in the potential
motion could be narrowed or resolved. The Court granted that request. See ECF No. 235. Since
then, we have continued to confer in good faith with the parties, and believe that we have
reached an agreement in principle that will obviate the need for motion practice at this time.
       We reserve the right to renew our request for a pre-motion conference in the event that
we are not able to finalize the agreement with the parties or motion practice otherwise becomes
necessary. And the parties have both agreed that, in such event, they will not assert that a later
request for a pre-motion conference is untimely.
        Accordingly, we withdraw our prior request for a pre-motion conference at this time. We
thank the Court for its attention to and consideration of this matter.
Respectfully Submitted,
                                                            SO ORDERED.
Davis Wright Tremaine LLP
/s/ Laura R. Handman                                                                           1/22/2021
cc:      All parties (via CM/ECF)




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